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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   NORTHERN DIVISION

BILL WALMSLEY, et al.                                                                  PLAINTIFFS


v.                                  CASE NO.: 3:23-cv-00081-JM


FEDERAL TRADE COMMISSION, et al.                                                      DEFENDANTS

                                               ORDER
         JOHN KERKHOFF and CALEB KRUCKENBERG are hereby authorized to bring a

cell phone, laptop computer, or personal digital assistant into the courthouse in Little Rock,

Arkansas, for the motion hearing on TUESDAY, JULY 11, 2023, subject to the following

rules:

         (a)      The devices mentioned above may not be used to record, photograph, or film

                  anyone or anything inside the courthouse.

         (b)      Cell phones must be turned off and put away when in the courtroom.

         (c)      Wireless internet components of electronic devices must be deactivated when in

                  district courtrooms.

         (d)      Before persons with electronic devices are granted entry into the courthouse, all

                  devices must be examined by the United States Marshals Service or Court

                  Security Personnel. This examination includes, but is not limited to, placing the

                  device through electronic screening machines and requiring the person possessing

                  the device to turn the power to the device off and on.

         (e)      The United States Marshals Service may further restrict electronic devices

                  from entering the building should a threat assessment so dictate.
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      A violation of paragraph (a), (b), or (c) may result in seizure of the electronic device,

withdrawal of the privilege to bring an electronic device into the courthouse, or other sanctions.

A violation of the prohibition on recording, photographing, or filming anyone or anything

inside the courthouse may be punished as contempt of court.

      SIGNED this 7th day of July, 2023.




                                                        JAMES M. MOODY JR.
                                                        UNITED STATES DISTRICT JUDGE
